Case 1:22-cv-00384-JSR Document 124-5 Filed 01/23/23 Page 1 of 7




   EXHIBIT E
          Case 1:22-cv-00384-JSR Document 124-5 Filed 01/23/23 Page 2 of 7



1

2

3

4

5
                                UNITED STATES DISTRICT COURT
6
                               SOUTHERN DISTRICT OF NEW YORK
7

8    HERMÈS INTERNATIONAL and                CASE NO. 1:22-cv-00384-JSR
9    HERMÈS OF PARIS, INC.,
10
                 Plaintiffs,
11   v.                                     EXPERT REPORT SUBMITTED BY
12                                          DR. BRUCE ISAACSON MEASURING THE
     MASON ROTHSCHILD,                      LIKELIHOOD OF CONFUSION BETWEEN
13                                          METABIRKINS AND BIRKIN HANDBAGS
14               Defendant.
15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                           Expert Report of Dr. Bruce Isaacson
                                                           CASE NO. 1:22-CV-00384-JSR
             Case 1:22-cv-00384-JSR Document 124-5 Filed 01/23/23 Page 3 of 7



1    7.        My surveys measured likelihood of confusion relative to the MetaBirkins webpage,

2    which is located at www.metabirkins.com. This webpage advertises MetaBirkins NFTs, shows

3    pictures and text relating to the NFTs, and provides links to online marketplaces where

4    consumers can purchase the NFTs.15 My surveys showed this webpage to respondents and

5    then asked questions to measure the likelihood of confusion with Hermès and Birkin handbags.

6    8.        The surveys measured two versions of the MetaBirkins webpage. The “test version”

7    measured the MetaBirkins webpage as consumers would encounter this page in the real world.

8    Figure 1 below shows the test webpage, which prominently displays images of 17 MetaBirkins

9    handbags and also describes the MetaBirkins NFTs.

10   9.        The surveys measured the webpage in a desktop format, which showed the webpage as

11   a consumer would see it on a device such as a desktop or laptop computer, and a mobile

12   version, which showed the webpage as a consumer would see it on a device such as a cell

13   phone.

14   10.       Figure 1 shows the desktop format of the MetaBirkins webpage. In this format, when a

15   user scrolls over a MetaBirkins handbag, words appear superimposed over the handbag in a

16   manner that reads “NOT YOUR MOTHER’S BIRKIN” across each row of handbags. My surveys

17   replicated this feature. Figure 2 shows MetaBirkins handbags from the webpage, with and

18   without these words superimposed over the handbags. Exhibit 2 shows the test webpage and

19   test handbags displayed in the surveys, in both desktop and mobile versions.

20

21

22

23

24

25

26

27
     15
28        Amended Complaint, ¶¶ 6, 18, 24.

                                                                         Expert Report of Dr. Bruce Isaacson
                                                 -3-
                                                                         CASE NO. 1:22-CV-00384-JSR
           Case 1:22-cv-00384-JSR Document 124-5 Filed 01/23/23 Page 4 of 7



1                                              Figure 1:
          Test Version of the MetaBirkins Webpage Measured in the Confusion Surveys (1 of 2)16
2

3

4

5

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
     16
       Due to space constraints, the MetaBirkins webpage is reproduced across multiple pages of this report.
27
     In the actual surveys, consumers saw the webpage as a single image, in a size and format similar to what
28   they would encounter in the real world.

                                                                              Expert Report of Dr. Bruce Isaacson
                                                   -4-
                                                                              CASE NO. 1:22-CV-00384-JSR
     Case 1:22-cv-00384-JSR Document 124-5 Filed 01/23/23 Page 5 of 7



1                                        Figure 1:
     Test Version of the MetaBirkins Webpage Measured in the Confusion Surveys (2 of 2)
2

3

4

5

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                                Expert Report of Dr. Bruce Isaacson
                                         -5-
                                                                CASE NO. 1:22-CV-00384-JSR
     Case 1:22-cv-00384-JSR Document 124-5 Filed 01/23/23 Page 6 of 7



1                                      Figure 2:
                  Examples of Test Versions of MetaBirkins Handbags
2
                    With and Without Superimposed Words (1 of 2)
3
            Handbag Without Words                  Handbag With Words
4

5

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                            Expert Report of Dr. Bruce Isaacson
                                      -6-
                                                            CASE NO. 1:22-CV-00384-JSR
     Case 1:22-cv-00384-JSR Document 124-5 Filed 01/23/23 Page 7 of 7



1                                      Figure 2:
                  Examples of Test Versions of MetaBirkins Handbags
2
                    With and Without Superimposed Words (2 of 2)
3
            Handbag Without Words                  Handbag With Words
4

5

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                            Expert Report of Dr. Bruce Isaacson
                                      -7-
                                                            CASE NO. 1:22-CV-00384-JSR
